                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                           CASE NOS.: 1:18-CR-47-RJC
                                      1:18-CR-68-RJC
                                      1:18-CR-88-RJC


 UNITED STATES OF AMERICA

                 v.

 WANDA SKILLINGTON GREENE



                            DEFENDANT’S MOTION TO SEAL

       NOW COMES Defendant Wanda Greene, through counsel and pursuant to Local Criminal

Rule 49.1.1 and Local Civil Rule 6.1 (c), and moves that her Motion for Reconsideration of Order

Denying Motion to Continue Sentencing be placed under seal. In support of this motion, the

defense shows the Court:


   1. Assistant U. S. Attorney Richard Edwards joins in this Motion to Seal and in the separately

       filed Motion For Reconsideration of Order Denying Motion to Continue.

   2. The instant motion references the government’s ongoing investigation into public

       corruption in Buncombe County. Rule 6 of the Federal Rules of Criminal Procedure

       imposes a broad rule of secrecy over matters occurring before the grand jury. The

       government has an independent interest in protecting the confidentiality of its

       investigation.

   3. Sealing is therefore necessary and there are no alternatives in this instance.

   4. In further support of this motion, the defense has submitted a memorandum, in accordance

       with Local Civil Rule 6.1 (c) (4), under seal.


                                                 1
5. The defense asks for sealing until the current grand jury investigation is complete. The

   defense has no objection to unsealing after the grand jury investigation is complete.


   Dated: July 31, 2019




                                         Respectfully submitted,

                                         /s/ Noell P. Tin
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                                            2
                             CERTIFICATE OF SERVICE


        The undersigned hereby certifies that he has served the foregoing DEFENDANT’S
MOTION TO SEAL with the Clerk of Court using the CM/ECF system, which will send
notification of such filing to opposing counsel:


                                Richard Edwards
                                Assistant U.S. Attorney
                                richard.edwards2@usdoj.gov


      Dated: July 31, 2019
                                             /s/ Noell P. Tin




                                         3
